UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,
                                                                   24-cr-542 (AS)
        v.

 SEAN COMBS,

                         Defendant.


                             NOTICE OF MOTION FOR BAIL

       PLEASE TAKE NOTICE THAT, upon the Declaration of Marc A. Agnifilo, Esq., dated

November 8, 2024, the exhibits attached thereto, and the accompanying Memorandum of Law,

defendant Sean Combs, by and through his undersigned attorneys, will move this Court at the

United States Courthouse, 500 Pearl Street, New York, N.Y., 10007 at a date and time to be

determined by the Court, for an Order releasing Mr. Combs on the proposed conditions, or any

other conditions the Court deems appropriate.

Date: November 8, 2024                                    Respectfully Submitted,

                                                          /s/Alexandra A.E. Shapiro

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